Case 3:22-cv-00698-MHL Document 37 Filed 05/14/24 Page 1 of 1 PageID# 183




                      UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                                Richmond Division


JAMYCE VINSON,              )
                            )
          Plaintiff,        )
                            )
V.                          )                  Civil Action No.: 3:22-cv-698-MHL
                            )
CITY OF RICHMOND, VIRGINIA, )
                            )
                 Defendant. )

              STIPULATION OF DISMISSAL WITH PREJUDICE

      Pursuant to Rule 41(a)(l)(A)(ii) of the Federal Rules of Civil Procedure,

Plaintiff, Jamyce Vinson and Defendant, City of Richmond, Virginia, through their

respective counsel, hereby stipulate that this action and all claims asserted herein

are dismissed with prejudice, with the consent of all parties and with each party to

bear its own costs and attorney’s fees. This Court shall retain jurisdiction to enforce

the terms of settlement if any dispute should ariseSO
                                                   r
      This     day of May, 2024.



                                                                                w
WE ASK FOR THIS:
                                                            Hannah Lauck
 PLAINTIFF:


Isl Tim Schulte                              Isl Wirt P. Marks
Tim Schulte (VSB No.: 41881)                Wirt F. Marks (VSB No.: 36770)
 Shelley Cupp Schulte, P.C.                 Deputy City Attorney
 3 W. Cary Street                           900 East Broad Street
 Richmond, Virginia 23220                   Richmond, VA 23219
Tel: (804) 644-9700                         Tel.: (804) 646-3019
Fax: (804) 278-9634                         Fax: (804) 646-7939
Schulte@scs-work.com                        Wirt.marks@rva.gov
Attorneys for Plaintiff
                                            Attorneys for Defendant
